Case 1:13-cv-22500-CMA Document 15-3 Entered on FLSD Docket 12/10/2013 Page 1 of 4




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Case 1:13-cv-22500-CMA Document 15-3 Entered on FLSD Docket 12/10/2013 Page 2 of 4




            A ttach m e nt C
Case 1:13-cv-22500-CMA Document 15-3 Entered on FLSD Docket 12/10/2013 Page 3 of 4




        Beginforwardedmessage:
        From:RamiroFernandez<ramiroum@ hotmai
                                            l-comy
        Date:Aujust31,20116:57:24AM EDT
        To:RamlroFernandez<ramiroum@gmai
                                       l.coml
        Subjeot:FW :Mexican standoff



        From:ramlroum@hotmai l-com
        To:warwarr@aol-com
        Subject:RE:Mexîcanstandoff
         Date:W ed,15xlun201109:30:08 -0400



         StlbjectRe:Mexicanstandoff
         To:ramirotlm@hotmail.com
         From:warwarrlaolvcom
         Date:W ed,15Jun2O1413:27:36 +0000
         Ramiro,
         Attheend oftheday,DrLivingstoneisnotonlytheChalrmanbutalso MTldirector.W eal   lmetwith Dr
         Burke and hepromisedtogetbacktousaftermeetingwlth Rotha...and he hasn't.DrLivingstonesenthim
         Geveralemailsandhehasnotresponded(tomyknowledge).Rulzalsosenthim emails.
         lsuggestyou personallytrytofind Burkesowecandeterminewhereweare.Asaprogram,Ithl
                                                                                       nkwe
         putourselvesalriskbyhavingm ul tipl
                                           e standasdsofcare.
         lam outoftownbutwilling tohaveateleconfwithyou,Nicole,and Phil-

         From:RamiroFernandez<ramiroum@hotmai
                                            l.com>
         Datë:W ed,15vlun201199:21:59-0400
         To:<warwarr@aol.com>
         Subject:Mexicanstando;
         Pleasetakea lookatRui  zemailtoAlanyesterdayregardingchangingtestingprotocol  s.
         lcannotvoagainstadecision made byAlannorI    egallypreventPhilfrom havlngthelabexecuteaorder,
         tohereismyreasonlng soyou canevaluatepros& con:wl      thAlan
         lthinkthiswillgenerate anotherMexican standoff,
         where Roth& Kupinwillnotsignorderscontaini  ngthe im munologytestsbeingqueslioned.
          consequentjwewi
                        llnotbeabletobillfortheirpatl
                                                    ents,
          Thatmayultlmatelyresuttinnotacceptinjthei
                                                  rpatients
          whatm ay end oneltherthegsendingthelrpati
                                                  entstoQtherIab
          ortheProgram directorreassignin.gtheirpati entstoanotherphysiclan
          with thepossi blecomplainfrom them to medicine claiming thereasonforlhelrreplacem entarem cnetary
          and notclinical
          with the consequentimpl icatl
                                      onofmedicarefraudbyovertesting
          whichcoul  d verywellresultinthe transplantprogram beingswitchedunderR serandthe labsunder
          Cote...
          al1scenariosare bad
          lwouldralherrecommendtalkforanagreem ent
          and inthe eventconsensuscannotbeoblained,
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Case 1:13-cv-22500-CMA Document 15-3 Entered on FLSD Docket 12/10/2013 Page 4 of 4




        thenjustrespectdoctorsq
        Thatwaywecould stllcrl
                               ecifi
                                   corders
                              bcize R0th & Kupînfornotbeing proactive i
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           endingrejectionepisodesearly,
        andultimately,theirstatlsticswillbe theretoshow theirpatient'   :graftsurviv
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        processbefore i
                         physicianswhoactuall
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                                                       consequences
        Deadllne to stoptbechangesmadeyesterdaywlllbetomor.          row at7 a.
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        havebeen modifi  ed..,
